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13   Attorneys for Defendants
     Ryder Ripps and Jeremy Cahen
14
15                        UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                 WESTERN DIVISION
18                                                  Case No. 2:22-cv-04355-JFW-JEM
19    Yuga Labs, Inc.,
                                                    DISCOVERY MATTER
20                                     Plaintiff,
21                                                  NOTICE OF MOTION AND
            v.                                      MOTION RE DEFENDANTS
22                                                  RYDER RIPPS AND JEREMY
23    Ryder Ripps, Jeremy Cahen, Does 1-10,         CAHEN’S MOTION TO COMPEL
24                                                  Magistrate Judge: Hon. J. E. McDermott
25                                Defendants.       Hearing: Jan. 24, 2023, at 10:00 a.m.
                                                    Discovery Cut-off Date: April 3, 2023
26                                                  Pre-Trial Conference Date: June 9, 2023
27                                                  Trial Date: June 27, 2023
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      Case No. 2:22-cv-04355-JFW-JEM                                  NOTICE OF MOTION
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 1                 NOTICE OF MOTION AND MOTION TO COMPEL
 2         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL
 3   OF RECORD.
 4         PLEASE TAKE NOTICE THAT on January 24, 2023, at 10:00 A.M., or as
 5   soon thereafter as the matter may be heard, in the United States District Court, Central
 6   District of California, located at 255 E. Temple Street, Los Angeles, California 90012,
 7   Courtroom 640, 6th Floor, before the Honorable John E. McDermott, Defendants
 8   Ryder Ripps and Jeremy Cahen will move, and hereby do move, for an order
 9   compelling Plaintiff Yuga Labs, Inc. to supplement document productions in response
10   to Defendants’ Requests for Production and supplement its responses to Defendants’
11   interrogatories, and to cooperate in the scheduling of depositions in a timely manner.
12         This motion is made following a conference of counsel pursuant to Local Rule
13   37-1 which took place on November 28, 2023.
14
15
16   Dated: December 28, 2022               By: /s/ Derek Gosma
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 1
                                            Attorneys for Defendants
 2                                          Ryder Ripps and Jeremy Cahen
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that a copy of the foregoing document was served on all attorneys
 3   of record via the Court’s ECF system on December 28, 2022.
 4
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 6                                          By: /s/ Derek Gosma
 7                                              Derek Gosma
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     Case No. 2:22-cv-04355-JFW-JEM                                    NOTICE OF MOTION
